Case 18-30849 Document 82 Filed in TXSB on 10/22/18 Page 1 of 10

 

 

MOR-'l UNlTED STATES BANKRUPTCY COURT
cAsE NAME: Bendco. Inc. PETmoN DA rE: 228th
case NuMBER: 18-30849 D:srRlcT oF rExAs.- Sou!hem
PRoPosED FLAN oArE.- D:wsloN.- Houston
MONTHLY OPERA TING REPQRT SUMMARY FOR MONTH 2018

25? 347 433.02

' DEPREC./TAX

TO INSIDERS

 

***'I`he original of this document must be filed with the United States Bankruptcy Comt and a copy must be sent to the United Siates Trustee***

 

 

 

 

 

 

 

 

ClRCLE ONE
REQIJ!RED INSURANGE MA!NTA!NED Are afl accounts recall/obie bean collected wl!h!n tems? yes dili’
AS OF SlGNA wRE DA '|'E EXP. Ara all past-patmon llabllm'es, lndud!ng !sxes, being paid within rams?,/*'€fé`s`T-Wo
DATE Hava snypm-petfrlon llab!!l#asbeen pa!d? Yas
cAsuALTY vsqu won _&-_L‘L-_|f[ arso, deems
UABIL|TV YES 04 NO { ) _¢L-_§_-_LfL Am all funds received being deposited toto DIP bank accounts? ¢'Fa’ No
VEHICLE YES 59 NO f ) ___[__”_-Bp_-_l§_ Were any assels d!sposed ofautside the normal course ofbusfness? Yea 457
woRKER's was (-,p, No( ) _L-|_‘L»_m_ rr so, describe w
OTHER YES 64 NO ( } __fL- -_[_q__ Am afl U.S. Trustao Quarle#y Fee Payments current? M No
What is the status ofyour P!an ofRao:ganIzaflan? ¢: --»' »0 f "\/<;
d

 

¢¢TTORN£Y M¢ ME: g '|{: h §§ é E!LQ[§ g a I certify under penalty ofper;le) that the following comple!e
FlRM NAME.- mmgm§+&g Month!y Operaring Repor! (MOR), consisting of MOR~I through

ADDRESS': 00 `\ b ¢'. MOR-9 pins attach n s and carrecr.
mate 359 j m@ y
cmc mm er.- H "'.' susman /CJ »'¢'Q'_'V'/{

_Q.M_j__£§le_..
m.-,~FHO~F/m 113 150 » Q;Vl“l Mu,@ /¢O"ZZ'/@

MOR'f (PR!NT NAME OF SIGNATORY)U

 

Case 18-30849 Document 82 Filed in TXSB on 10/22/18 Page 2 of 10

cAsE NAME: Bendco, |nc.
cASE NuMBER: 18-30849

COMPARATIVE BALANCE SHEETS
ETS nunc umw Mnrch 2018 April 2018 Muy 2018 .hmc 2018 .hlly 2018 Augus¢ 2013

Fcb. 28, 2018
RRENT ASSETS
6 618.37 17 412.74 99.40 768.58 9 16.09 171 .48 127 1
Rcccivnb|c,th 167 07.97 219 62.75 237 7.49 334 12.84 51 635.15 433 929.55 687 33.03
. LowcrofCostor Mnrket 3 798.00 3 793.00 3 798.00 3 793.00 3 798.00 3 798.00 3 798.
0.00 0.00 0.00 5 000.00 5 000.00 5 000.00 5 000.
0.00 0,00

-Duc from Texas Citizen's Bank 0.00 0.00 0.00 1 008

CU 1 4.84 2 473.49 323 34.89 4 .42 9 24 5.03 82 2 l

OPERTY PLANT& . COS'I' 7 641 55.88 7 641 55.88 7 1 55.88 ? 641 55.88 7 73 11.72 7 738 11.72 7 73 11.
Accumu\atcd 014 .32 029 .48 045 01 1.64 060 053.80 075 095.96 138.12 6 105 180.28
BOOK VALUE OF PP & E 1 628.56 1 611 86.40 l .24 1 1 02.08 l 663 15.?6 1 173.60 1 633 131.44

ASSETS
l. A/R 5 720.00 720.00 720.00 5 720.00 720.00 5 720.00 575 .31
2. on l“-`orklill 0.00 5 00 5 00.00 5 00.00 5 00.00 5 .00 5 .
3. E|eclric 950.00 950.00 950.00 950.00 950.00 950.00 950.

4.
Al. . 9. 3 151 5. $2 161 $3 039113.94

 

MOR-Z

cAsE NAME: Bendco, lnc.

Case 18-30849 Document 82 Filed in TXSB on 10/22/18 Page 3 of 10

case NuMEER: 18-30849

LIABILITIES & OWNER'S

EQUITY

-I’ETiTION
LIAB|L|TIES
chs ~ Sccurcd
Debt
cheral locomc '1'nx
FlCA)'Wilhholdl
Unsccurcd cht
Olhcr
AL PRE-PET|TION Lh\ml.iTiF.s
AL LlABlLITlES
WNER'S lTY
l‘REFBRRED STOCK
COMMON STOCK
ADDITIONAL I'AlD-IN CAPITAL
RETAINED EARNINGS: mm
RETA|NED EARN]NGS: i‘osl Dolc
/\L O\vNER‘S EQU[TY (NET wORTH)

ILl'I`lES &
WNERS EQUITY

MOR-3

COMPARATIVE BALANCE SHEETS

FlLlNG DAT[~I*

069,55

3 1115.55
3 71 115.55

1 000.00
15 00.
92.15

092.15

7 023.40

* Pcr Schcduk:s and Slnlcment

Mnrcll 2018

$2 001.80

046.00

I 069.55

3 671 115.55
695 117.35

1 000.00

15 .00

-1 92. 15
29 .69

~l 3,887.46

431 .39
Af`fairs

April 2013

$59173.91

1 701 046.00

069.55

1 15.55
3 725 .46

1000.00

15 .00

-l 09 92,15
1.82
-1,226,240.33

499 049. 13

my 2013

$145 92.98

1 046.00

l 069.55

3 l 1 15.55
08.53

1 000.00

15 00.00

-1 92.15
55 735.13
»1,237,357.02

$2 151.50

Junc 2018

$300 645.12

1 91 046.00

1 5 069.55

3 1 15.55
3 9 760.67

1 000.00

15 500.00

-1 09 592.15
1 1 066.49
-1,|77,025.66

779 735.00

July 2018

$354 827.02

1 046.00

1 965 069.55

3 651 115.55
4 005 .57

l 000.00

15 .00

-1 92.15
178 768.21

-l 114 .94

$2,391 618.63

Allgust 2018

$423 82.50

1 1 046.

1 069.5

3 1 15.55
4 069 98.05

1000.

15 500.
»1 09 92.15
04
-1 .11

$3 039 1 13.94

 

Case 18-30849 Document 82 Filed in TXSB on 10/22/18

CASE NAME:
CASE NUMBER:

Bendco. 1nc.
18»30849

SCHEDULE OF POST~PETITION LIABILITIES

Ma reh 2018

EAC`COUNTS I'AYABLE $13 .29
AX PAYABLE
Federai l 'I`axes
Sl:\te Taxes
Ad Valorcm Taxes
Olher Taxcs
AL TAXES PAYABLE
to G & A See addendum lo MOR»
DEBT POST~PET[TION
CCRUED INTEREST 1’AYABLE
CCRUED PROFESS!ONAL FEES*
ACCRUED LIABILIT|ES

10 034.51
10 034.51

AL POST~PETIT|ON LIABlLITlES 011-3
Paymcut rcqu

MOR-4

Apr112018

$27 4.58

22 018.66
018.66

May 2018

23 483.74

11 000.00
19 3.37
53 787.11
4 122.95

39 484.70

Page 4 of 10

Junc 2018

1 099.76

55 32.71

1 l 000.00
37 .16
1 527.87
4 122.95
755.84

45 138.70

July 2018

83 005.70

11 000.00
53 545.62
147 551.32
4 122.95
95 33.09

61 5.32

Aug\ist 2018

30 152.

97 450.2

11 000.
77 065.
185 15.33
122.95
93 .41

71 87.72

 

Case 18-30849 Document 82 Filed in TXSB on 10/22/18 Page 5 of 10

cAsE NAME: Bendco Ir\c.
cAsE NuMBER: 18-36849

 

MONTH
March 2018

0-30 bAYs 1 1
nms .
-somws 738.98
oAYs 0.00

MOR-S

Aocrued expenses included 10 Aocounts pa

AGING OF POST-PETIT!ON LlABII..ITIES
August 2018

FEDERAL
ACCOUNTS TAXES

l 69 .42 7,207.67

152.09 $69 .42

AGING OF ACCOUNTS RECE}VABLE

090.48

44 63
27 1 18.98
1 15

$0.00

$11

17.18 _

 

cAsE NAME: Bendco. |HC.
CASE NUMBER: 18“30849

STATEMENT OF INCOME (LOSS)

Case 18-30849 Document 82 Filed in TXSB on 10/22/18 Page 6 of 10

 

 

 

 

 

 

 

 

   

  

  

   

   
   

 

 

  

    

 

   

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

M:\rc!l 2018 April 2018 Mny 2018 J\mc 2018 JuIy 2018 Augus¢ 2018 [-‘lLlNG 'I'G
DATE
REVENMES (MOR-l) 225,185.00 255,382.50 257,013.36 327,663.80 347,433.02 423,894.91 1,836,572.59
Ton. cosT 00 xmvnwuns 145,930.99 1 10,937.65 131,613.86 132,303.69 125,065.32 158,819.37 804,670.88
amoss I'ROFlT 79 254.01 144,444.85 125,399.50 195,360.1 1 222,367.70 265,075.54 1,031,901.'1‘1
OPERATING EX[’F.NSES:
Selling & Markccing 0.00 1,259,67 0.00 125.07 1,3 84.74
General & Adminis!m:ivc 16,827.89 25,214.49 54,161.81 67,296.51 71,572.30 86,742.45 321 ,815.45
insiders Compcnsmion 10,416.00 17,916.00 19,866.00 12,916.00 20,416.00 25,338.52 106,868.52
Prol`css.ionnl Fccs 0.00 9,930.67 29,554.03 5,654.00 16,396.62 12,251.09 73,786.41
insurance 0.00 18,686.94 8,587.60 7,082.64 8,172.02 7,798.60 50,327.80
Pmpcny Tnxes 0.00 10,000.00 11,000.00 11,000.00 1 1,000.00 1 1,000.00 54,000.00
ToTM. orERATmG Exr»sr~rses 27,243.89 81,748.10 124,429.1 1 103,949.15 127,556.94 143,255.73 608,182.92
INCOME BEl-'orua lN'r, r)EPR.rrAx (Mon~l) 52,010.12 62,696.75 970.39 91,410.96 94,810,76 121,819.81 423,718.79
ll\NTEREsT BXPENSE 0.00 402.25 398.12 800.37
ilUEPREcmTloN 15,042. 16 l 5,042. 16 15,042.16 15,042. 16 15,042. 16 15,042.16 90,252.96
110T11ER glNcoME) ExPENsE' 0.00 0.00
10TH001113MS" 0.00 0.00
TOTAL rNT, DEPR & oTl\lER mims 1 5,042. 16 15,042. 16 15,042.16 1 5,042. 16 15,444.4| 15,440.28 91 ,053.33
mar mcoME BEFORE TAxEs 36,967.96 47,654.59 -14,071.77 76,368.80 79,366.35 106,379.53 332,665.46
HFEDERAL lNcoME TAxEs 7,763.27 10,007.46 -2,955.07 16,037.44 16,664.62 22,339.70 69,857.42
lim mcmm¢mss) (Mou.n $29,204.69 $37,047.13 ($1 1,1 16.70) $60,331 .36 $62,701.?3 $84,039.83 $262,808.04

 

 

 

 

 

 

 

 

 

zic€rua! Accamrliug Rr.'quirc¢!. Onlrr:m'l.\'c Fauhloh: \\'f\'lr £\‘plnlmr!nu.

' Fua.'non.' Mnndm'ar}',

' ‘ Urmsr:al amd/ar i'rgfrcqm'm Ir:'m(s) outside fhc ardr'umj' carlch nfbr:sfne:s roquircsfnomare,

MOR~G

Case 18-30849 Document 82 Filed in TXSB on 10/22/18 Page 7 of 10

 

 

 

 

 

  

  

 
   
 

  

       

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

cAsE NAME: B@ndco, lnc.
cAsE NuMBER: 18~30849
CASH RECE!PTS 1\ND moN'rn MoNrn MoN'rr: MoN'rn r.\oNTu Mo:~m: nunc To
DlSBURSEMENTS Mm‘l:il 2018 Apr112018 Mny 2018 .llmc 2018 July 2018 Augu512018 DA'I`E
1.cAs11-0001NN1N0 00 MoNTu $6,618.87 317,412.74 $82,299.40 $64,768.58 $9,916.09 $171,485.48 $6,6 8 87
RECEIPTS: l w §§ ' of :;-, ' 1 "¢W§ t ' ` ` -`1"' 7
2. cAsn sALEs
3. coLLEcT:oN 00 AccouNTs REcElvABLE 186,001.46 241,655.29 185,578.18 152,775,60 382,268.56 223,661.23 1,371,940.32
4. LoANs & ADVANCES much 050 0.00
5. sALE 00 Assl=.rs 0.00
6. oTHER (unach lrsc) 42,122.95 42,122.95
ToTAL RECEWTS'* 186,001.46 241,655.29 227,701.13 152,775.60 382,268.56 223,661.23 1,414,063.27
Wii|ldrowal} Comribulion by lndivir.{unl Del)tor MFR-Z* 0.00
110130003€01ENTS= ' W " w . ` 1 1
7. NET PAYROLL 97,181.33 89,715.85 100,092.25 104,815.88 90,783.94 118,595.75 601,185.00
a. I'AYRoLL TA)<ES 1006 ` 30,001.92 30,001.92
9. sALc-s, 050 12 ora-100 TAxns mm 2,212.67 4,672.73 148.50 1,237.88 8,271.78
10. sscunEDmlaNTAL/LEASES 10,000.00 10,000.00 10,000.00 10,000.00 10,000.00 50,000.00
|10. unmms&'rmpuo~£ 5,036.19 16,195.10 12,122.81 14,013.66 12,638.12 60,810.96
12. msuRANclz 8,686.94 10,702.50 4,659.74 10,663.02 5,038.60 39,750.80
13. 1NvL=.NToRY0u11cHAsEs 0.00
14. vleicLE ExPENsEs 153.79 146.37 40.00 345.16
1s. 1011an & ENTERTMNMENT 55.43 453.67 509.10
16. REPA;RS, MA:NTENANCE 0 suPPLlEs 403.88 378.95 1,695.33 15,730.50 5,652.74 23,861.40
11. ADMIMS‘FRMWE & sEl_uNc\ 0.00
13. 0111130(11101¢111151) Addendum 77,463.59 59,41 1.23 96,380.29 75,881.16 75,340.17 82,846.72 467,323.16
TOTAL msnuusr-:mlzms FRoM ol'leATloNs 175,207.59 176,443.63 240,231.95 207,628.09 217,774.17 264,773.85 1,282,059.28
10. 1=00005s10NA1. rees 5,000.00 5,000.00
20. u.s.'musTEE nies 325,00 ` 2,925.00 3,250.00 6,500.00
21. orman REoRGAleAT:oN sxpm~esEs mach 050 0.00
To'r.u. msnunsb:nmms" 175,207.59 176,768.63 245,231,95 207,628.09 220,699.17 268,023.85 1,293,559.28
22. NET cAsl‘l FLow 10,793.87 64,886.66 -17,530.82 -54,852.49 161 ,569.39 -44,362.62 120,503.99
23. cAsH - END 00 10on mon-21 $ 17,412.74 $82,299.40 $64,763.53 39.916.09 $171,485.48 $127,122.86 $127,122.86
* Applics 10 lndividual debtors only
MOR-'T **Numbcrs l`or 1110 current moan should balance (ma!ch) $‘127,122.86

RECEII"I`S and C[~iECKS/O'I`I'IER DISBURSEME.N'[`S 111105 011 MOR-S

Case 18-30849 Document 82 Filed in TXSB on 10/22/18 Page 8 of 10

.sE NAME: Bendco. lnc.
SE NUMBER: 18~30849

 

 

 

 

 

 

 

huon MoN'rn |MoN'm 1111on MoN'rn inon nunc To
oTHER DISBURSEMENTS | Mareh 2018 April 2010 f May 2018 | June 2010 .nny 2010 Augus¢ 2010 one
Cost of sales $60,635.70 $27,208.01 $39,703.91 $22,844.27 $42,289.40 $29,451.55 $222,132.84
Genera1 & administrative expenses $16,827.89 $5,515.02 $41.92 $37,036.89 $17,050.77 $33,886.56 $110,359.05
Properly 'I`ax $0.00 $10,000.00 $22,000.00 $11,000.00 $11,000.00 $11,000.00 $65,000.00
G & A Partners $0.00 $11,688.20 $29,634.46 $0.00 $41,322.66
Asccntium Capita1 $0.00 $5,000.00 $5,000.00 $5,000.00 $5,000.00 $5,000.00 $2$,000.00
Texas Citizen’s Bank-Check cashed twice `” $l,008.30
Texas Citizen's Bank-Sept check cieared in August $0.00 $0.00 $2,500.31 $2,500.31
TotaE $77,463.59 $59,41 1.23 $96,380.29 $75,881.16 $75,340.17 $82,846.72 $466,314.86
Addendum to MOR-7
Other Cash Recelpts
G & A Outscurc!ng refund $42,122.95 This amount was refunded by G 81 A Ou!sourcing

on May 4 with noliee that they were applying all
other payments received post-patmon ($37,699.71)

10 amounts owed pre-pelltfon.

The refund amount has been shown as a post-
petition llabliity on the balance sheet

Case 18-30849 Document 82 Filed in TXSB on 10/22/18

oAse NAME= Bendco, lne.
case NuMeER: 18-30849

TYPE
BALANCE
[N '[`R.ANSIT
ANDING CHECKS
BANK BALANCE
CASH - PER BOOKS

BETWEEN ACCOUNTS

DEBTOR MFR-2
DlSBI.}RSEMEN'I`S*l

MOR-8

CASI-I ACCOUNT RECONCILIATION

MONTH oF _

opEizATlNG

117170.45

l
17 17.58
$ll 482.87
t .38
221 .73
298.03

009.27

11

August 2018

PA YROLL

 

"'Numbers should balance (match} TOTAL RECE|PTS and
TOTAL DlSBURSEMENTS lines on MOR-?

Page 9 of 10

TOTAL

$IZ'! 739.44
$

17 l‘I.SS
$I 1.86
71 .48
1.23
$0.00

$0.00
085.85

Case 18-30849 Document 82 Filed in TXSB on 10/22/18 Page 10 of 10

case NAME: Bendco. lnc.
case nuMaER: 18-30849

PAYMENTS TO INSIDERS AND PROFESSIONALS

Of the total disbursements shown for the monti\, list the amount paid to insiders (as defined in Section 101(31){A)-(F) ofthe U.S. Bankruptcy Code) and the professiona|s.

March 2018
INSDERS: NAME!COMP TYPE

t. Rick $5,416.00
2. John $5 .00
3. Rick

4. John

5.

6.

Morch 2018
PROFESSIONALS

Ciaft & Schulz-tetainer

MOR»9

Apl'il 2018

$6,666.00
$6,250.00
$2,000.00

Aprii 2013

 

May 2018 June 2018 July 2018 August 2018

416.00
931.25
1 42.45
17

June 2018

